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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In Re:
AMERICAN HOME MORTGAGE

HOLDINGS, INC., a Delaware corporation, et

al.,

Debtors.

Chapter 11
Case No. 07-11047 (CSS)

Jointly Administered

Hearing Date: November 28, 2007 @ 10:00 a.m.
Objection Deadline: November 20, 2007 @ 4:00 p.m.

NOTICE OF MOTION OF 1140 GALAXY WAY, INC. FOR ORDER COMPELLING
DEBTOR-IN-POSSESSION TO ASSUME OR REJECT UNEXPIRED LEASE OF NON-
RESIDENTIAL REAL PROPERTY

TO: ALL PERSONS ON THE ATTACHED RULE 2002 SERVICE LIST

1140 Galaxy Way, Inc. (“Galaxy”), a landlord and administrative creditor, has filed a
Motion for Order Compelling Debtor-in-Possession to Assume or Reject Unexpired Lease of
Non-Residential Real Property (the “Motion to Compel”), which seeks to compel the Debtors in
Possession to either reject or assume and cure the defaults on a lease between Galaxy and Debtor
American Home Mortgage Holdings, Inc.

You are required to file a response to the Motion to Compel on or before Tuesday,
November 20, 2007 at 4:00 p.m.

At the same time, you must also serve a copy of the response upon Galaxy’s attorneys:

Regina A. lorii, Esquire

Werb & Sullivan

300 Delaware Avenue, Suite 1300
P.O. Box 25046

Wilmington, DE 19899

(302) 652-1111 (facsimile)
riorii@werbsullivan.com

Michael B. Reynolds, Esquire
Snell & Wilmer LLP

600 Anton Boulevard, Suite 1400
Costa Mesa, CA 92626-7689
(714) 427-7027 (facsimile)
mreynolds@swlaw.com

A HEARING ON THE MOTION TO COMPEL WILL BE HELD ON WEDNESDAY,

NOVEMBER 28, 2007 AT 10:00 A.M. IN COURTROOM 5, 824 N. MARKET STREET, 514

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FLOOR.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF DEMANDED BY THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

WERB & SULLIVAN

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Regina A. lorii (#2600)

300 Delaware Avenue, Suite 1300

P.O. Box 25046

Wilmington, DE 19899 (courier 19801)
Telephone: (302) 652-1100

Facsimile: (302) 652-1111
rlorli@werbsullivan.com

and

SNELL & WILMER L.L.P.

Michael B. Reynolds (CA Bar No. 174534)
600 Anton Blvd., Suite 1400

Costa Mesa, CA 92626

Telephone: (714) 427-7000

Facsimile: (714) 427-7799
mreynolds@swlaw.com

Attomeys for 1140 Galaxy Way, Inc.

Dated: October 31, 2007

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